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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
24 Cr. 556 (DEH)

-V,-
PROTECTIVE ORDER
ERIC ADAMS, WITH RESPECT TO CERTAIN
CLASSIFIED MATERIALS

Defendant.

This matter came before the Court on the Government’s motion (the “Government
Motion”), exhibits, and the declarations of Government officials, which were filed ex parte, in
camera, and through the Classified Information Security Officer on January 17, 2025, as
supplemented by a letter and additional declaration filed ex parte and in camera on January 30,
2025 (collectively, the “Government Submission”).

The Government Submission sought a protective order, pursuant to Section 4 of the
Classified Information Procedures Act (“CIPA”) and Rule 16(d)(1) of the Federal Rules of
Criminal Procedure, regarding certain materials and/or information. See 18 U.S.C. App. 3, § 4.
After ex parte, in camera consideration of the Government Submission, this Court finds:

l, The Government Submission contains and describes classified information
that requires protection against unauthorized disclosure. That information is described with
particularity in the Government Submission.

2. The head of the department(s) that has or have control of the classified
information described in the Government Submission, after personal consideration, has lodged the

state secrets privilege with respect to that classified information.
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Deleted Classified Materials

3. Disclosure of the Classified Materials, as defined in the Government
Motion, to the defendants, defense counsel, or the public could reasonably be expected to harm
national security.

4, The Classified Materials are either not discoverable under Brady vy.
Maryland, 373 U.S. 83 (1963), and its progeny, or Rule 16 of the Federal Rules of Criminal
Procedure, or otherwise, and/or are not relevant and helpful to the defense, that is, useful to counter
the Government’s case or bolster a defense, as required under United States v. Aref, 533 F.3d 72,
78 (2d Cir, 2008).

Substituted Classified Materials

5. For certain information contained in the Classified Materials, the
Government Motion proposes an unclassified summary substitution (the “Summary
Substitution”), as contemplated by Section 4 of CIPA. The proposed Summary Substitution, as
described in the Government Motion, provides the defense with substantially the same ability to
make defenses as would disclosure of the pertinent Classified Materials.

Accordingly, it is:

ORDERED that the Government Motion is granted, and the Classified Materials,
as defined in the Government Motion, and described herein, need not be disclosed to the defense;
and it is further

ORDERED that the Government shall produce to the defense the Summary

Substitution described herein; and it is further

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ORDERED that the Government Submission is hereby sealed, and shall remain
preserved in the custody of the Classified Information Security Officer or his designee, in

accordance with established court security procedures, until further order of this Court.

SO ORDERED this (0 day of _Fedwwy , 2025,

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HON. DALE E. HO
United States District Judge
Southern District of New York

